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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

EUGENIO VARGAS,                                §
                                               §
  Plaintiff/Counterclaim Defendant,            §
                                               §
v.                                             §       Civil Action No. 4:22-cv-00430-O
                                               §
ASSOCIATION OF PROFESSIONAL                    §
FLIGHT ATTENDANTS, JULIE                       §
HEDRICK, AND ERIK HARRIS,                      §
                                               §
  Defendants/Counterclaim Plaintiff.           §


                  CERTIFICATE OF INTERESTED PERSONS OF
            DEFENDANT COUNTERCLAIM PLAINTIFF ASSOCIATION OF
             PROFESSIONAL FLIGHT ATTENDANTS, AND DEFENDANTS
                      JULIE HEDRICK AND ERIK HARRIS

        Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and

LR 81.2, Defendant Counterclaim Plaintiff Association of Professional Flight Attendants

(“APFA”), and Defendants Julie Hedrick and Erik Harris (collectively, “Defendants”) provide

the following information:

        For a nongovernmental corporate party, the name(s) of its parent corporation and any
        publicly held corporation that owns 10% or more of its stock (if none, state “None”):

               None.

        A complete list of all persons, associations of persons, firms, partnerships, corporations,
        guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities
        that are financially interested in the outcome of the case:

               1.      Association of Professional Flight Attendants (“APFA”);

               2.      Julie Hedrick, National President of APFA (“Hedrick”);

               3.      Erik Harris, National Treasurer of APFA (“Harris”);



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              4.      Eugenio Vargas, former National Treasurer of APFA; and

              6.      Members of, and individuals represented by, the APFA.


Date: June 13, 2022                        Respectfully Submitted


                                             /s/ Sanford R. Denison
                                           SANFORD R. DENISON
                                           Tex. Bar No. 05655560
                                           Baab & Denison, LLP
                                           6301 Gaston Ave., Suite 550
                                           Dallas, TX 75214
                                           Tel.: (214) 637-0750
                                           Fax.: (214) 637-0730
                                           Email: denison@baabdenison.com

                                           MARGOT A. NIKITAS*
                                           Illinois Bar No. 6309782
                                           General Counsel
                                           Association of Professional
                                             Flight Attendants
                                           1004 W. Euless Boulevard
                                           Euless, TX 76040
                                           Tele. (817) 540-0108 ext. 8108
                                           Fax. (817) 355-1919
                                           Email: MNikitas@apfa.org

                                           WILLIAM W. OSBORNE*
                                           D.C. Bar No. 912089
                                           Osborne Law Offices P.C.
                                           5335 Wisconsin Avenue N.W., Suite 440
                                           Washington, D.C. 20015
                                           Tel.: (202) 243-3200
                                           Fax: (202) 686-2977
                                           Email: b.osborne@osbornelaw.com

                                           Counsel for Defendant Counterclaim Plaintiff
                                           Association of Professional Flight Attendants, and
                                           Defendants Julie Hedrick and Erik Harris

                                           *Application of Admission Pro Hac Vice
                                           Forthcoming




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                               CERTIFICATE OF SERVICE

       I certify that on this 13th day of June 2022 a true and correct copy of the foregoing

document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant

Vargas by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

       KERRI PHILLIPS
       HEATHER ABREU
       K.D. Phillips Law Firm, PLLC
       5700 Tennyson Parkway, Suite 300
       Plano, Texas 75024
       Phone: (972) 327-5800
       Fax: (940) 400-0089
       Email: kerri@KDphillipslaw.com
       Email: Heather@KDphillipslaw.com

Date: June 13, 2022                          /s/ Sanford R. Denison
                                            SANFORD R. DENISON




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